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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS


NATIONAL ASSOCIATION OF THE DEAF,
on behalf of its members, C. WAYNE DORE,
CHRISTY SMITH, LEE NETTLES, on behalf
of themselves and a proposed class of similarly
situated persons defined below,
                                                           Civil Action No. 15-30023-KAR
                 Plaintiffs,

         v.

HARVARD UNIVERSITY, and PRESIDENT
AND FELLOWS OF HARVARD COLLEGE,

                 Defendants.


                                  JOINT MOTION TO STAY

         Plaintiffs National Association of the Deaf (“NAD”), on behalf of its members, C. Wayne

Dore, Christy Smith, and Lee Nettles, on behalf of themselves and a proposed class of similarly

situated persons (collectively, “Plaintiffs”) and Defendants Harvard University and President and

Fellows of Harvard College (collectively, “Defendants”) jointly and respectfully move for an

extension of the current stay of all proceedings, including discovery, in this Court until Wednesday

July 31, 2019, while Plaintiffs and Defendants continue to explore a mutually agreeable settlement

of this case.

         The grounds for this Motion are as follows:

         1.      On May 10, 2019, the Court granted the parties’ joint request for a stay of all

proceedings while the parties re-entered settlement negotiations. See Dkt. 177. That stay expired

on May 31, 2019. Id.




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         2.      On June 3, 2019, the Court directed the parties to file a joint submission by June 7,

2019. See Dkt. 178.

         3.      Since the prior stay elapsed, the parties have continued settlement discussions and

now believe that a renewal of the stay of all proceedings while they continue negotiating a potential

settlement would be in the interests of justice and judicial efficiency.

         4.      The Court has the authority to stay the proceedings on its docket. See, e.g., Landis

v. North American Co., 299 U. S. 248, 254 (1936) (“[T]he power to stay proceedings is incidental

to the power inherent in every court to control the disposition of the causes on its docket with

economy of time and effort for itself, for counsel, and for litigants.”).

         5.      The parties propose that on or before July 31, 2019, they will file a joint

memorandum with the Court on the status of the negotiations.

         WHEREFORE, Plaintiffs and Defendants respectfully move that the Court enter an Order

staying all proceedings, including discovery, until July 31, 2019, pending the outcome of the

parties’ settlement negotiations.




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 Dated: June 7, 2019                         Respectfully submitted,

 PLAINTIFFS:                                 DEFENDANT:

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                                 CERTIFICATE OF SERVICE
         I hereby certify that, on June 7, 2019, the foregoing document was served upon all

counsel of record through this Court’s electronic filing system as identified in the Notice of

Electronic Filing.


                                                     /s/ Joseph M. Sellers        .


                                                     Joseph M. Sellers
                                                     Pro Hac Vice




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